 

Case 2:13-cv-00193 Document 1159 Filed on 06/03/19 in TXSD Page 1 of 2

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Gt. 2 2 vy
coptus Crocs te TBF LY VE cere adder F8ce (92 ” Cnt States Cots
C5 BEE I Southern OPED
JUN - 3 2019

att now set to Wo to Galesblirg 94CF264 Jul\r 10 19
walht unconditional release, I amit no whongs! David J. Bradley, Clerk of Court

WANT THIS 2'!12cv193 NGR case contiflued to consider liftited vititte!
WANT '\AIVER HECURUS 800-844-6591 20 callee liit!

got copy of doc 1156 ORDER exWendiHY title to respond to ptfs
motions for atty fees. I sugges partial paVilent.

aS eS eS ete!

I now havé a SECURUS 800-844-6591 ptlepaid phone adtount.
I pa} SECURUS $1 for #4 miHutes with a 20 callee limit.

I waht waiv¥r this 20 callee litt!

[=} &s Whe district court 08-cv522-lKNW Malbisltrate recod¥nizéd,

Allison v Snyder 222 FA 1076, 9-80 rejd¥cts Anbtlose'’s prettise that

as a Wetlier, he is entitled to alternative treatment. See ILL
ADMIN COBE 20 § 1905''220. Dr Carich kept saVir§ I was a denier!

-- Ambtlose v Golllithez 2012 516 Fed Appx 47012

T WAHT THIS 2!'l42cv192 NGR case contiHudd to CONSIDER
my LIMITED VOTING BUGGESTTION with ptitlar} witltters free on owl &
2 more districts -- MORE 'WA FEE

I WHT A WAIVER HECURUS 800-844-6591 20 callee limit!

RL coe. Birr
Robert M Allensworth #14522

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